Case 6:23-cv-00299-CEM-LHP Document2 _ Filed 02/21/23

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AO 239 (Rev. 01/15) Application to Proceed in District Court Without Prepaying Fees or Costs (Long Form)
UNITED STATES DISTRICT COURT ; as
for the co BS
MIDDLE DISTRICT OF FLORIDAF®] a
FREDERICK MARC COOLEY ) =
Plaintifj/Petitioner ) a
v. ) Civil Action No. “x
FRONTIER AIRLINES, INC., et. al. ) oc
) a

Defendant/Respondent

APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
(Long Form)

9

a dismissal of my claims.

Signed: Budhich YY. Date:

02/13/2023

Affidavit in Support of the Application Instructions

lam a plaintiff or petitioner in this case and declare Complete all questions in this application and then sign it.
that I am unable to pay the costs of these proceedings Do not leave any blanks: if the answer to a question is “0,”
and that I am entitled to the relief requested. I declare “none,” or “not applicable (N/A),” write that response. If

under penalty of perjury that the information below is you need more space to answer a question or to explain your
true and understand that a false statement may result in answer, attach a separate sheet of paper identified with your

me, your case's docket number, and the question number.

“

l. For both you and your spouse estimate the average amount of money received from each of the following

sources during the past 12 months. Adjust any amount that was received weekly, biweekly, quarterly,

semiannually, or annually to show the monthly rate. Use gross amounts, that is, amounts before any deductions

for taxes or otherwise.

Income source Average monthly income Income amount expected
amount during the past 12 next month
months
You Spouse You Spouse
eraphoyment $ 2,100.00 |s 900.00
If-emp!
Self-employment $ 5
Income from real property (such as rental income) ¢ 5 §
I t ivi s
nterest and dividends $ 5 §
Gifts § 5 5
Alimony $ 5 $
Child
hild support $ 5 5

gas
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Retirement (such as social security, pensions, annuities,
. $ 5 3 $
insurance)
Disability (such as social security, insurance payments) $ $ $ §
Unemployment payments $ 5 $ $
Public-assistance (such as welfare) $ 5 $ §
Other (specify): $ $ $ 5
2,100.00 $00.00 0.00
Total monthly income: $ $ 0.0/5 $
2. List your employment history for the past two years, most recent employer first. (Gross monthly pay is before taxes or
other deductions.)
Employer Address Dates of employment Gross
monthly pay
IHSS SOLANO 275 BECK AVE, FAIRFIELD, CA 9459( | 5/1/2018 $ 2,100.00
$
3. List your spouse's employment history for the past two years, most recent employer first. (Gross monthly pay is before
taxes or other deductions.)
Employer Address Dates of employment Gross
monthly pay
$
$
$
4. How much cash do you and your spouse have? $ 86.17
Below, state any money you or your spouse have in bank accounts or in any other financial institution.
Financial institution Type of account Amount you have Amount your
spouse has
BANK OF AMERICA PERSONAL $ 86.47 {5
$ $
5 3

If you are a prisoner, you must attach a statement certified by the appropriate institutional officer showing all receipts,
expenditures, and balances during the last six months in your institutional accounts. If you have multiple accounts,
perhaps because you have been in multiple institutions, attach one certified statement of each account.
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5. List the assets, and their values, which you own or your spouse owns. Do not list clothing and ordinary
household furnishings.
Assets owned by you or your spouse
Home (Value} $
Other real estate (Value) $
Motor vehicle #/ (Value) $ 16,000.00
Make and year: 2017
Model: cheverolet
Registration #: 1G1105S38HU1 16021
Motor vehicle #2 (Value) $
Make and year:
Model:
Registration #:
Other assets (Value) $
Other assets (Value) 3
6. State every person, business, or organization owing you or your spouse money, and the amount owed.
Person owing you or your spouse Amount owed to you Amount owed to your spouse
money
$ $
$ $
3 $
7. State the persons who rely on you or your spouse for support.

Name (or, if under 18, initials only) Relationship Age

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8. Estimate the average monthly expenses of you and your family. Show separately the amounts paid by your
spouse. Adjust any payments that are made weekly, biweekly, quarterly, semiannually, or annually to show the
monthly rate.

You Your spouse

Rent or home-mortgage payment (including lot rented for mobile home)
Are real estate taxes included? © Yes O No 3 $
Is property insurance included? O Yes (No

Utilities (electricity, heating fuel, water, sewer, and telephone) $ 250.00 |$
Home maintenance (repairs and upkeep) $ 0.00 |$
Food $ 100.00 |$
Clothing $ 75.00 |$
Laundry and dry-cleaning $ 125.00 1$
Medical and dental expenses $ 80.00 |$
Transportation (not including motor vehicle payments) $ 100.00 |$
Recreation, entertainment, newspapers, magazines, etc. $ $

Insurance (not deducted from wages or included in mortgage payments)

Homeowner's or renter's: $ 130.00 |$
Life: 3 $
Health: $ 175.00 I$
Motor vehicle: $ 103.00 |$
Other: $ 3
Taxes (not deducted from wages or included in mortgage payments) (specifv): $ $
Installment payments
Motor vehicle: $ 423.00 j$
Credit card (name): $ $
Department store (name): $ $
Other: $ $

Alimony, maintenance, and support paid to others $ $

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Regular expenses for operation of business, profession, or farm (attach detailed $ $
statement)
Other (specifi): $ $
Total monthly expenses: $ 1,561.00/8 0.00

10.

11.

12.

Do you expect any major changes to your monthly income or expenses or in your assets or liabilities during the
next 12 months?

Yes No If yes, describe on an attached sheet.

Have you spent — or will you be spending — any money for expenses or attorney fees in conjunction with this
lawsuit? © Yes No

If yes, how much? $

Provide any other information that will help explain why you cannot pay the costs of these proceedings.

Identify the city and state of your legal residence.
VALLEJO, CA

Your daytime phone number: (707) 373-6405

Yourage: _53 Your years of schooling: 12
